Case 3:14-cr-00025-GEC        Document 362 Filed 03/07/17                 Page 1 of 1      Pageid#:
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                                                                                           AT ROANOKE,VA
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                        N TH E U N ITED STA TES D ISTRICT C OU RT                          MA2 2? 2217
                      FOR THE W ESTERN DISTRICT OF VIRGINIA                              JULIA .Erk L
                             CHARLOTTESVILLE DIVISION                                   BY;


UN ITED STA TES O F A M ERICA                )         Crim inalA ction N o.3:14CR 00025-01
                                             )         (CivilActionNo.3:16CV81171)
                                             )
                                             )         FIN A L O R D ER
SO LOM O N A .FM N CIS,                      )
                                             )         By:H on.G len E.Conrad
      D efendant.                            )         ChiefUnited StatesDistrictJudge



       Forthe reasons stated in the accom panying m em orandllm opinion,itisnow

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as follow s:

               Thegovernment'smotiontodismiss(DocketNo.350)isGRANTED;
       2.      The defendant's m otion to vacate, set aside, or correct his sentence under 28

               U.S.C.j2255(DocketNo.337)isDENIED;
       3.      Thisaction shallbe STR ICK EN from the active docketofthe court;and

       4.      Finding that the defendanthas failed to m ake a substantialshow ing ofthe denial

               of a constitutionalright as required by 28 U.S.C.j 22534c),a certificate of
               appealability is D ENIED .

       The Clerk isdirected to send certified copiesofthisorderand theaccompanying

memorandum opinion to the defendantand a11counselofrecord.

       DATED:This N         dayofMarch,2017.


                                                 ChiefUnited StatesD istrictJudge

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